Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 1 of 10 Page ID #:413


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11                      UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                Case No.: CR 18-00022-CAS
14                   Plaintiff,               NOTICE OF MOTION TO QUASH
           vs.                                OR MODIFY SUBPOENAS
15
     BENJAMIN KOZIOL,                         Hearing Date: May 29, 2018
16                                            Hearing Time: 9:30 AM
17                   Defendant.
                                              Honorable Christina A. Snyder
18
19
20         PLEASE TAKE NOTICE THAT the victims in this case, Entertainer and
21   Manager, by and through their counsel of record, Lynn A. Neils, hereby move this
22   Court, pursuant to Federal Rule of Criminal Procedure 17(c), for an order quashing
23   or modifying the trial subpoena issued by the defense commanding that Lynn A.
24   Neils testify and produce documents in connection with the upcoming May 29,
25   2018 trial before this Court (the “Trial Subpoena”).
26         PLEASE TAKE FURTHER NOTICE THAT the Entertainer and Manager
27   hereby move this Court for an order quashing or modifying the early return
28   subpoenas issued by the defense pursuant to this Court’s May 18, 2018 order

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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 2 of 10 Page ID #:414



 1   directing that the Manager and Entertainer and certain named attorneys testify and
 2   produce documents to the Court by May 23, 2018 (the “Early Return Subpoenas”).
 3         This motion is based upon the attached memorandum of points and
 4   authorities, the accompanying declaration of Lynn A. Neils, the files and records
 5   in this case, and such further evidence and argument as the Court may permit.
 6
 7   Dated: May 23, 2018
 8                              BAKER BOTTS L.L.P.

 9                              By                    /s/Lynn A. Neils
10
                                           Attorney for Entertainer and Manager
11
12
     Dated: May 23, 2018
13                              LAW OFFICES OF JOEL C. KOURY
14
                                By                    /s/Joel C. Koury
15
16                                         Attorney for Entertainer and Manager

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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 3 of 10 Page ID #:415



 1        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                MOTION TO QUASH OR MODIFY SUBPOENAS
 2
 3
     I.     Introduction
 4
            This motion concerns two sets of subpoenas: the Trial Court Subpoena and
 5
     the Early Return Subpoenas (collectively, the “Subpoenas”). The Subpoenas—
 6
     served on the Entertainer and Manager (collectively, the “Victims”) and their
 7
     attorneys on the eve of trial—should be quashed in their entirety or modified by
 8
     the Court as unreasonable and oppressive under Federal Rule of Criminal
 9
     Procedure 17(c) for several reasons.1
10
             First, the Subpoenas seek testimony from the Victims’ lawyers—Lynn A.
11
     Neils and Joseph Perry (“Counsel”). Such a demand is outrageous and should not
12
     be permitted by the Court. Counsel are not fact witnesses in this case; rather,
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     Counsel have been retained to represent the interests of the victims and any
14
     testimony that the defense may attempt to elicit from them would be largely
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     inadmissible,      falling     within     the     realm     of     privileged      attorney-client
16
     communications. Moreover, the defense’s request for Counsels’ testimony is at
17
     odds with the rights afforded to victims under the Crime Victims’ Rights Act, 18
18
     U.S.C. § 3771 (“CVRA”). Among those rights, codified by statute, is the right to
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     seek the advice of an attorney in connection with any criminal proceeding against
20
     a defendant. See id § 3771(c)(2). When a defendant, on the eve of trial, issues a
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     subpoena to a victim’s attorney seeking testimony and other information regarding
22
     the attorney’s representation of a victim, the victim’s right to seek the advice of an
23
     attorney under the CVRA comes into jeopardy. This is the precisely what the
24
     defense has attempted to do here.
25
26
     1
27    To protect the privacy interests of the victims, this Court issued a Protective Order on March 1,
     2018, directing that “[a]ll court filings in this matter shall redact the victims’ full name entirely
28   and replace references to the victims with either ‘Entertainer’ or ‘Manager.’” Dkt. 21 at ¶ 4.

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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 4 of 10 Page ID #:416



 1         Second, the Subpoenas seek a broad array of largely extraneous, irrelevant

 2   documents, that, if introduced at trial, would not aid the jury in their factual

 3   resolution of this case.    The Trial Subpoena, served upon Lynn A. Neils

 4   immediately following a May 16, 2018 pre-trial conference where she appeared to

 5   represent the interests of the victims, seeks four categories of documents: (1)

 6   copies of all electronic communications between Counsel and the U.S. Attorney’s

 7   Office from October 1, 2017 through the present; (2) copies of all contractual

 8   agreements between Entertainer and Manager operative at any time between

 9   December 1, 2015 and January 19, 2018 (the “Contractual Agreements”); (3)

10   copies of all retainer agreements between the Entertainer and certain named

11   attorneys; and (4) copies of all retainer between the Manager and certain named

12   attorneys (collectively the “Retainer Agreements”). The Early Return Subpoenas

13   seek duplicate copies of the Contractual Agreements and the Retainer Agreements

14   from the Entertainer and the Manager and several of their attorneys.

15         As to defendant’s request for the Contractual Agreements and the Retainer

16   Agreements, these documents are wholly irrelevant to the principal issue in this

17   case, i.e. whether the defendant attempted to extort Entertainer. Moreover, the

18   request for all the communications between Lynn A. Neils and the Government is

19   entirely overbroad in that there is similarly no basis upon which the defendant
20   could assert that such communications would lead to relevant evidence. It is the
21   Entertainer and Manager’s understanding that the Government has already
22   provided the defense with certain communications between Counsel and the
23   Government pursuant to the Government’s discovery obligations. Any documents
24   that the defense now seeks from Counsel beyond what has already been provided,
25   absent a particularized showing as to the basis for such a request, amounts to an
26   impermissible fishing expedition.
27         The Victims’ motion to quash or modify the Subpoenas should accordingly
28   be granted.

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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 5 of 10 Page ID #:417



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 2   II.    The Criminal Offense

 3          This case involves extortion. On January 19, 2018, a grand jury indicted

 4   defendant, charging him with one count of Attempted Extortion Affecting

 5   Interstate Commerce by Nonviolent Threat (18 U.S.C. § 1951(a)). Dkt. 6. The

 6   indictment alleges, and the Government’s case will establish, that defendant

 7   attempted to extort the Entertainer by threatening to publish false allegations

 8   against him if he refused to pay defendant $1 million. Those false allegations

 9   include salacious assertions that the Entertainer assaulted defendant and that he

10   sexually assaulted defendant’s wife during a nude massage. But as the complaint

11   filed in this matter indicates (Dkt. 1), the Entertainer has never met nor had any

12   contact with either defendant or his wife. Rather, defendant’s criminal conduct

13   arises from a misguided attempt to link the Entertainer to a nude massage that his

14   Manager actually received from defendant’s wife and to attribute false conduct to

15   the Entertainer following the nude massage that simply never occurred.

16 III.     Legal Standard

17          For a Rule 17 subpoena to be valid, it must comport with certain

18   requirements set forth by the Supreme Court in United States v. Nixon. See 418

19   U.S. 683 (1974). There, the Supreme Court instructed that a party seeking a Rule
20   17(c) subpoena must show that: “(1) that the documents are evidentiary and
21   relevant; (2) that they are not otherwise procurable reasonably in advance of trial
22   by exercise of due diligence; (3) that the party cannot properly prepare for trial
23   without such production and inspection in advance of trial and that the failure to
24   obtain such inspection may tend unreasonably to delay the trial; and (4) that the
25   application is made in good faith and is not intended as a general ‘fishing
26   expedition.’” Id. at 699-700. Stated succinctly, the proponent of the subpoena
27   “must clear three hurdles: (1) relevancy; (2) admissibility; (3) specificity.” Id. at
28   700.

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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 6 of 10 Page ID #:418



 1         The Supreme Court recognized in Nixon that the intent of Rule 17(c) was

 2   not to provide general criminal discovery, but instead merely designed to set a

 3   time and a place for a party to review relevant, admissible evidence at trial. See id.

 4   at 698-99, citing Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951).

 5   This interpretation has been confirmed by subsequent decisions in the Ninth

 6   Circuit. See, e.g., United States v. MacKey, 647 F.2d 898, 901 (9th Cir. 1981)

 7   (“[A] Rule 17(c) subpoena is not intended to serve as a discovery tool … or to

 8   allow a blind fishing expedition of unknown evidence.”); United States v. Reed,

 9   726 F.2d 570, 577 (9th Cir. 1994). Because the Subpoenas fails to comport with

10   the requirements enunciated in Nixon, it must be quashed, or in the alternative

11   modified, by the Court.

12   IV.   Application

13         A. Counsels’ Testimony        Would     Call   for   Inadmissible    Privileged
              Communications
14
15         The request in the Subpoenas, seeking Counsels’ testimony at trial should

16   be quashed on the ground that such testimony calls for largely privileged

17   communications between Counsel and their clients—the Victims of the

18   defendant’s extortionate scheme.        Such a request fails to satisfy Nixon’s

19   admissibility prong.
20         Of course, the attorney-client privilege is one of the oldest recognized
21   privileges for confidential communications. Upjohn Co. v. United States, 449 U.S.
22   383, 389 (1981); Hunt v. Blackburn, 128 U.S. 464, 470 (1888). The privilege is
23   intended to encourage “full and frank communication between attorneys and their
24   clients and thereby promote broader public interests in the observance of law and
25   the administration of justice.” Swidler & Berlin v. United States, 524 U.S. 399,
26   403 (1998).     Where an attorney receives a subpoena, the attorney-client
27   relationship is placed into jeopardy. See, e.g., United States v. Punn, 737 F.3d 1,
28   11 (2d Cir. 2013) (noting that subpoenas directed at attorneys “often present

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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 7 of 10 Page ID #:419



 1   potentially irreparable disclosures of privilege”); United States v. Colorado

 2   Supreme Court, 189 F.3d 1281, 1288 (10th Cir. 1999) (stating that “the attorney-

 3   client relationship is by general consensus of our profession worthy of protection,

 4   and the service of ‘an attorney-subpoena may cause irreparable damage to the

 5   attorney-client relationship’”).

 6         Indeed, courts in the Ninth Circuit have recognized that a Rule 17(c)

 7   subpoena “should be quashed or modified if it calls for privileged matter.” United

 8   States v. Reyes, 239 F.R.D. 591 (N.D. Cal 2006) (quoting 2 Federal Practice &

 9   Procedure § 275, at 258); see also United v. Tomison, 969 F. Supp. 587, 597 (E.D.

10   Cal. 1997).    Moreover, the Ninth Circuit has held privileged attorney-client

11   communications are inadmissible at trial. See Wade v. State Farm Mut. Auto. Ins.

12   Co, 203 Fed. Appx. 827, 828 (9th Cir. 2006) (district court properly determined

13   that privileged attorney-client communications “would not be a permissible

14   subject of trial testimony”).

15         In light of this precedent, the defendants have no basis to assert that

16   Counsels’ testimony concerning their representation of the Victims would be

17   admissible at trial. On this basis alone, the Court should determine that the

18   defendant’s request for Counsels’ trial testimony fails the admissibility

19   requirement under Nixon.
20         Moreover, the request, on its face, is outrageous and can only be construed
21   as a ploy on the part of the defense to harass the Victims. Counsel are not fact
22   witnesses in this case and can offer no relevant testimony at trial.         Rather,
23   Counsels’ role is to represent the Victims’ interest in this proceeding, an important
24   role long recognized under the CVRA. See 18 U.S.C. § 3771. As the Victims in
25   this case, the Entertainer and Manager are entitled to an attorney of their choice to
26   represent their interests in this proceeding.    The defendant’s attempt to seek
27   Counsels’ testimony is a transparent attempt to circumscribe this role. The Court
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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 8 of 10 Page ID #:420



 1   should refuse to sanction such tactics and should quash the Subpoena for this

 2   reason as well.2

 3         B. The Request for All Communications Between Counsel and the
              Government is Entirely Overbroad
 4
 5         The document request in the Trial Subpoena calling for all electronic

 6   communications between Counsel and the U.S. Attorney’s Office from October 1,

 7   2017 through the present is likewise improper.          The defendant has already

 8   received many of these documents directly from the Government, a party to this

 9   proceeding, pursuant to the Government’s discovery obligations. There is simply

10   no basis that the defendant can offer that would require Counsel to duplicate any

11   efforts already made by the Government in supplying these communications to the

12   defense.    Nor can the defendant demonstrate why the request for any

13   communications not yet disclosed—if any—should be directed at Counsel rather

14   than the Government.

15         Furthermore, the request for all the communications between Counsel and

16   the Government is completely overbroad and lacks the specificity required under

17   Nixon. See, e.g., United States v. Reed, 726 F.2d 570, 576-77 (9th Cir. 1984)

18   (subpoena properly quashed by district court where defendant requests “all”

19   documents from investigative file rather than “specific documents”); see also
20   United States v. Morris, 287 F.3d 985, 991 (10th Cir. 2002) (party seeking
21   documents cannot satisfy Nixon requirements unless he can “identify the item
22   sought and what the item contains, among other things”).
23         The Trial Subpoena seeking all communications between Counsel and
24   Government also does not satisfy the Nixon relevancy prong. Under Nixon, a
25   party seeking the production of documents under Rule 17 bears the burden of
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     2
27     The defense’s request for both Lynn A. Neils and Joseph Perry to testify—at the very
     minimum—should be limited to one attorney. Testimony from both lawyers would constitute
28   cumulative testimony.

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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 9 of 10 Page ID #:421



 1   demonstrating that the documents sought are evidentiary and that the application is

 2   in good faith and not part of a “fishing expedition.” See also United States v.

 3   Layton, 90 F.R.D. 514, 516 (N.D. Cal. 1981) (“The movant bears the burden of

 4   showing in what respect the documents sought are material to any issue in this

 5   case.    A mere hope that the documents, if produced, may contain evidence

 6   favorable to the defendant’s case will not suffice.”).

 7           Here, there is no basis for the defendant to assert that all communications

 8   between Counsel and the Government, for example, related to scheduling issues or

 9   concerns about the Victims’ privacy interests are relevant to the factual issues to

10   be resolved at trial. Indeed, a victim’s counsel should be able to communicate

11   freely with the Government without fear that all such communications would be

12   later turned over to the defense. In that regard, the CVRA expressly contemplates

13   situations where a victim would be represented by counsel in connection with a

14   criminal prosecution. See 18 U.S.C. § 3771(c)(2) (requiring that “the prosecutors

15   shall advise the crime victim that the crime victim can seek the advice of an

16   attorney with respect to the rights described in” the CVRA). Because the CVRA

17   specifically provides that a victim can seek the advice of an attorney, it naturally

18   flows that communications between a victim’s counsel and the Government would

19   ensue. Requiring that all such communications between a victim’s counsel and
20   the Government be subsequently turned over to a defendant runs not only afoul of
21   the Nixon relevancy test, but also would undermine the rights and protections
22   afforded to victims under the CVRA.
23           The Trial Subpoena as to this request should therefore be quashed as an
24   “unreasonable or oppressive” fishing expedition. Fed. R. Cr. Proc. 17(c).
25           C. The Contractual Agreements and the Retainer Agreements are not
                Relevant
26
27           Finally, the Contractual Agreements and the Retainer Agreements called for
28   by the Subpoenas are not relevant to the factual issues to be resolved at

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Case 2:18-cr-00022-CAS Document 67 Filed 05/23/18 Page 10 of 10 Page ID #:422



 1   defendant’s trial. The Contractual Agreements between the Entertainer and the

 2   Manager and the Retainer Agreements3 between them and their attorneys—legal

 3   documents that would undoubtedly cause the jury confusion—have no bearing on

 4   the issue of whether the defendant attempted to extort Entertainer. Indeed, the

 5   Victims and Counsel are hard pressed to identify any plausible nexus between the

 6   documents sought by the defense and the alleged criminal conduct for which the

 7   defendant stands charged. The Subpoena, as to these requests, must therefore be

 8   quashed.     See United States v. Eden, 659 F.2d 1376, 1381 (9th Cir. 1981)

 9   (concluding that the trial court properly quashed subpoena where defendant “failed

10   to make any showing of relevancy other than mere conclusory statements” that

11   documents were evidentiary).

12   V.     Conclusion

13          Based on the foregoing, the Entertainer and Manager respectfully request

14   that the Court quash the Subpoenas in their entirety or, in the alternative, modify

15   the Subpoenas pursuant to Federal Rule of Criminal Procedure 17(c).

16   Dated: May 23, 2018
17                                 BAKER BOTTS L.L.P.

18                                 By                        /s/Lynn A. Neils
19
                                                 Attorney for Entertainer and Manager
20
21
     Dated: May 23, 2018
22                                 LAW OFFICES OF JOEL C. KOURY
23
                                   By                        /s/Joel C. Koury
24
25                                              Attorney for Entertainer and Manager
26
     3
27     It should be noted that, under California State law (which differs from federal common law),
     engagement letters are considered confidential communications protected by the attorney-client
28   privilege. See Business and Professions Code § 6149.

                                                  10
